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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                             Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC)
et al.                                     (Jointly Administered)

Debtors in a Foreign Proceeding.

GONZALO GIL-WHITE, PERSONALLY AND IN               Adv. Pro. No. 19-1294(SCC)
HIS CAPACITY AS FOREIGN REPRESENTATIVE
of PERFORADORA ORO NEGRO, S. DE R.L. DE
C.V. AND INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                            Plaintiff,

                     -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS,
LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
RESEARCH AND CAPITAL MANAGEMENT LTD.;
CQS (UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MEXICO, S.A., INSTITUCIÓN
DE BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
BARRADAS ABOGADOS, S.C.; GHL
INVESTMENTS (EUROPE) LTD.; JOHN
FREDRIKSEN; KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE., LTD.;
ORO NEGRO FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO IMPETUS PTE.,
LTD.; PAUL MATISON LEAND, JR.; ROGER
ALAN BARTLETT; ROGER ARNOLD HANCOCK;
SEADRILL LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                            Defendants.
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                                 APPEARANCE OF COUNSEL

To:    The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Andrés Constantin Antonius-Gonzalez.

       This Notice of Appearance shall not be deemed to waive any right of Mr. Antonius to

(i) have final orders in non-core matters entered only after de novo review by a higher court;

(ii) seek trial by jury; (iii) have the United States District Court withdraw the reference to this

Court; or (iv) contest subject matter jurisdiction or personal jurisdiction.



DATED: March 9, 2020                                           Respectfully submitted,

                                                               /s/ Justin M. Ellis
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                                                               Attorney for Andrés Constantin
                                                               Antonius-Gonzalez




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